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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON
  TALCUM POWER PRODUCTS
  MARKETING, SALES PRACTICES,          No.    3:16-md-02738-MAS-RLS
  AND PRODUCTS LIABILITY
  LITIGATION



        DEFENDANTS’ REPLY IN SUPPORT OF ITS MOTION FOR
                 LITIGATION FINANCE DISCOVERY
        AND TO COMPEL COMPLIANCE WITH LOCAL RULE 7.1.1
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                                   INTRODUCTION

        It is undisputed that the Smith Law Firm represents thousands of plaintiffs in

  this MDL and has received litigation funding to pursue those plaintiffs’ claims. After

  engaging in word games to obfuscate this truth in the last round of briefing on the

  subject of litigation funding discovery, PSC member Beasley Allen and its co-

  counsel, the Smith Law Firm, have returned to the same tactics—carefully chosen

  turns of phrases and parsing of basic words to avoid disclosure. If Rule 7.1.1 is to

  have any meaning at all, the Court should no longer countenance this behavior.

        Local Rule 7.1.1 requires a disclosure statement if a party is receiving

  litigation funding “on a non-recourse basis in exchange for (1) a contingent financial

  interest based upon the results of the litigation.” In an effort to avoid falling within

  the ambit of this Rule, the Smith Law Firm now contends that its funding—though

  non-recourse—is not contingent on the results of this particular litigation (i.e., talc).

  But that does not make sense. The Smith Law Firm could not have provided any

  collateral other than an interest in the proceeds from any claims that the funding

  supports in order to give its lender a remedy in the event of a default on the loan.

        What appears to be happening here is that the loan in question is contingent

  on the results of multiple litigations that the Smith Law Firm is pursuing, of which

  talc is one. But that sort of arrangement still falls within the scope and purview of




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  Local Rule 7.1.1. Under the circumstances described, the loan is still “contingent”

  and still “based,” at least in part, on the results of the talc litigation.

         Even more importantly, the J&J Defendants should not be required to simply

  take the Smith Law Firm or Beasley Allen at their word on this point, particularly

  given the machinations and word games they perpetuated in the first round of

  briefing on litigation funding. The J&J Defendants should be permitted to get to the

  bottom of whatever subtle linguistic phraseology the Smith Law Firm or Beasley

  Allen are relying on to avoid their disclosure obligations under Rule 7.1.1, and to

  avoid any chance that J&J will be granted the simple discovery it seeks. 1

         At a minimum, documents that lay out the scope and obligations associated

  with the loan(s) that the Smith Law Firm admits it has received should be provided

  in camera so that this Court can assess whether Plaintiffs are complying with Rule

  7.1.1. Indeed, as just one example of why such an examination is warranted, take the

  declarations submitted in connection with this new round of briefing. Even though

  Beasley Allen and the Smith Law Firm represent the exact same MDL plaintiffs,

  Ms. O’Dell declared that “Beasley Allen clients have received no funds from the

  Smith Law Firm’s litigation funding,” while Mr. Smith declared that his firm “has



  1
    It is quite possible that given the vocal objections of other, unrelated counsel (such
  as Mr. Golomb of Anapol Weiss) during the first round of argument on this matter,
  there are other firms currently watching this dispute because they are relying on
  similar justifications to avoid disclosure under Rule 7.1.1.

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  loans it uses to finance its cases including Talc.” ECF 36528-1 at ¶ 6; ECF 36608-1

  at ¶ 7. It is difficult to comprehend how both can be true.

        To be clear, more than Local Rule 7.1.1’s disclosure requirements are at issue

  in this continued dispute. The Rule also permits discovery if the interests of the

  plaintiffs are not being protected or promoted. Local Rule 7.1.1(b). Significantly,

  Beasley Allen itself contended that the Smith Law Firm’s “independent judgment

  about the Talcum Powder Litigation and the potential settlement of that litigation

  was objectively subject to question.” Mot. Ex. H at ¶ 25 (ECF No. 34394-11).

  Having made such a statement, it is bewildering why Beasley Allen now runs from

  the very discovery that would help set the issue to rest. Stated simply, whether

  litigation funding’s improper influence is driving settlement up or down, it appears

  that Beasley Allen and the J&J Defendants agree that it is affecting the settlement

  decision-making of a law firm representing plaintiffs in this MDL. That alone

  warrants the requested discovery.

        Finally, Beasley Allen mischaracterizes the bankruptcy record to try to

  sanitize its conduct. But the following undisputed facts are newly discovered and

  therefore were not before the Court in the first round of litigation funding discovery

  briefing:

        (1) Andy Birchfield of Beasley Allen certified under oath that Beasley Allen
        obtained its clients’ informed consent to vote against the bankruptcy;




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        (2) The firm did not, in fact, obtain affirmative consent for thousands of
        clients;

        (3) The firm nonetheless voted to reject compensation, including on behalf of
        gynecological cancer claimants; and

        (4) The firm believes that those gynecological cancer claimants cannot be
        compensated in the tort system.

        Thus, Beasley Allen’s own conduct raises significant and deeply concerning

  questions as to whether the interests of thousands of claimants in this MDL are being

  protected and promoted.

        Accordingly, this Court should permit Defendants’ requested discovery into

  litigation financing and, at a bare minimum, require all plaintiffs represented by

  Beasley Allen to submit a statement of disclosure as required by Local Rule 7.1.1.

                                    ARGUMENT
  I.    MDL Plaintiffs Represented By Beasley Allen Received Litigation
        Funding.
        There can be no question now that the MDL plaintiffs—jointly represented by

  Beasley Allen and the Smith Law Firm—received litigation funding. Beasley Allen

  and Smith all but ignore that Local Rule 7.1.1 makes clear that all “parties” must

  disclose their litigation funding—not all “counsel.”

        It does not matter if the party’s attorney that receives the litigation funding

  formally appears on the docket or not. Nor does it matter which law firm thinks it

  put in the bulk of the work. Beasley Allen and the Smith Law Firm’s agreement

  makes clear they “jointly represent” all MDL plaintiffs. Mot. Ex. A at 3 (ECF No.


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  34394-4). So any funding the Smith Law Firm has obtained necessarily is funding

  that parties to this MDL have obtained.

        Aside from violating the plain text of Local Rule 7.1.1, permitting the

  arrangement here to avoid disclosure opens a massive loophole. It would allow a

  party to evade disclosure simply by structuring its funding relationships through

  attorneys who remain off the docket. That would defeat the very purpose of Rule

  7.1.1, which is to bring third-party funding arrangements to light and prevent hidden

  conflicts of interest from distorting both litigation and settlement efforts.

        Likely in recognition of this obvious point, the Smith Law Firm now turns to

  a new argument: that the firm’s funding is outside the scope of Local Rule 7.1.1,

  which requires disclosure of “funding for some or all of the attorneys’ fees and

  expenses for the litigation on a non-recourse basis in exchange for (1) a contingent

  financial interest based upon the results of the litigation or (2) a non-monetary result

  that is not in the nature of a personal or bank loan, or insurance.” The Smith Law

  Firm concedes that the firm’s talc litigation funding is non-recourse. Smith Opp. 3

  (ECF 36528). But it asserts that the funding is “not ‘in exchange for (1) a contingent

  financial interest based upon the results’ of this litigation.’” Id.

        But here is the problem with such an assertion: in the last round of briefing,

  both Beasley Allen and the Smith Law Firm leaned heavily into the idea that Smith

  was not “counsel of record” in the MDL in order to obscure the fact that his firm did


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  in fact represent thousands of MDL plaintiffs. That fact has now been laid bare, and

  the linguistics employed to obscure it are obvious post facto. Unfortunately, that

  there was no “proof” the Smith Law Firm represented any claimants in this MDL

  was one of the “facts” this Court based its original decision on—and neither Beasley

  Allen nor the Smith Law Firm stepped forward to correct the misunderstanding, or

  to volunteer that all the Beasley Allen claimants were also Smith claimants.

         In light of this history, neither this Court nor the J&J Defendants should be

  required to simply accept the latest—and frankly difficult to harmonize and accept—

  assertions being put forward in this briefing to avoid disclosure and continue to insist

  that the funding, which admittedly exists is somehow outside the ambit of the rule.

         On the one hand, the Smith Law Firm asserts that its loan for talc litigation is

  “non-recourse,” meaning the lender’s only remedy in the event of the default is the

  collateral that secures the loan. See In re Taberna Preferred Funding IV, Ltd., 594

  B.R. 576, 586 (Bankr. S.D.N.Y. 2018). But at the same time, it asserts that the loan

  somehow is not based upon the results of the litigation. This structure makes no

  sense. What collateral could the Smith Law Firm possibly have offered the lender

  other than an interest in the litigation claims themselves to justify the lender having

  no other remedy?

         Perhaps the Smith Law Firm is attempting to rely on a subtle distinction that

  the loan is for a portfolio of litigations (i.e., talc plus others), and so it is contingent


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on the firm receiving proceedings from the results of any of those litigations. 2 But

that still makes it “contingent” (repayment is triggered when certain circumstances

are met) and “based upon” the results of the talc litigation (one of those

circumstances is the result of the talc litigation). Rule 7.1.1 does not require the loan

to be exclusively based on the results of the litigation before this Court.

      Additionally, the Smith Law Firm’s declaration completely omits the second

basis for disclosing litigation funding: if the loan is contingent on “a non-monetary

result that is not in the nature of a personal or bank loan, or insurance.” While the

J&J Defendants do not know how the loan would be set up this way, the J&J

Defendants should not be required to pierce through whatever obfuscation may be

occurring— particularly given the declaration submitted in the previous round of

briefing. Rather, this Court should order discovery—even if in camera—to

determine if Plaintiffs are complying with Local Rule 7.1.1.

      That is the central holding of MSP Recovery Claims Series, LLC—that a

plaintiff’s bare denial of third-party funding does not preclude discovery under Rule

7.1.1(b). 2024 WL 4100379, at *5–6 (D.N.J. Sept. 6, 2024). Beasley Allen attempts




2
   Litigation Finance, OmniBridgeway, https://omnibridgeway.com/litigation-
finance (last visited June 16, 2025) (“Portfolio financing. Financing to support
multiple cases or arbitrations of a law firm or a company. The returns in this scenario
will come from the recovery the firm or company collects from any one or more of
the portfolio cases.”).

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to sidestep the case by arguing it involved “actual litigation funding entities [who]

were members of the plaintiff group.” Beasley Allen Opp. at 16 n.19 (ECF No.

36608). But that fact was immaterial to the court’s reasoning, which turned on

whether there was evidence that funders were exerting influence over litigation

decisions. MSP Recovery Claims Series, LLC, 2024 WL 4100379, at *6.

      The conflicting declarations are all the more reason discovery is warranted

here. Ms. O’Dell’s declaration states, “Beasley Allen clients have received no funds

from the Smith Law Firm’s litigation funding.” ECF 36608-1 at ¶ 7. The Smith Law

Firm’s declaration states that it “has loans it uses to finance its cases including Talc.”

ECF 36528-1 at ¶ 6. But the Smith Law Firm and Beasley Allen jointly represent

the exact same clients in the MDL—thousands of them.

      Indeed, the Smith Law Firm—representing MDL plaintiffs—“takes no

position” on the J&J Defendants’ argument that this Court should “require all

plaintiffs represented by Beasley Allen to submit a statement of disclosure as

required by Local Rule 7.1.1.” Smith Opp. 4 n.1. (ECF 36528).

      Discovery is therefore warranted to assess whether Plaintiffs are complying

with the requirements of Local Rule 7.1.1.




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II.   Beasley Allen’s Acknowledgment That Funding at Issue Affects
      Settlement Decisions Demonstrates Why Discovery Is Appropriate.

      Beasley Allen’s admission that their litigation funding, by and through the

Smith Law Firm’s funding, affects settlement decisions constitutes another

independent basis for discovery.

      Local Rule 7.1.1(b) allows for “additional discovery of the terms of any such

[funding] agreement upon a showing of good cause that”: (1) the funder “has

authority to make material litigation decisions or settlement decisions;” (2) the

“interests of the parties or the class (if applicable) are not being promoted or

protected;” (3) “conflicts of interest exist;” or (4) the “disclosure is necessary to any

issue in the case.”

      Beasley Allen itself has asserted that the Smith Law Firm’s funding is

affecting settlement decisions: “The financial problems of Defendants Smith and

Smith law have now grown to the point that they are actively undercutting Beasley

Allen in settlement negotiations with Johnson & Johnson in an effort to get a

settlement that would alleviate their financial problems, but which would not in

Beasley Allen’s opinion be in the best interest of the joint venture clients.” Mot. Ex.

H at ¶ 25 (ECF No. 34394-11).

      Beasley Allen goes on to state that “Defendants Smith and Smith Law had

fallen into such significant debt in connection with the Talcum Powder Litigation




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that their independent judgment about the Talcum Powder Litigation and the

potential settlement of that litigation was objectively subject to question.” Id. at ¶ 43.

       This directly implicates the core purpose of Rule 7.1.1: to bring transparency

to third-party funding arrangements that may compromise counsel’s independent

judgment or create concealed conflicts of interest.

       Neither Beasley Allen nor the Smith Law Firm addresses these statements

from Beasley Allen’s complaint. While the parties may not see eye to eye on the

manner in which the Smith Law Firm’s litigation funding is affecting settlement

decisions, the J&J Defendants and Beasley Allen are in complete agreement that the

funding is, in fact, improperly influencing settlement decisions. Since the MDL

plaintiffs are jointly represented by Beasley Allen and the Smith Law Firm, the

Smith Law Firm’s decision-making regarding settlement affects settlement for the

plaintiffs in this MDL. That is true regardless of whether or not Beasley Allen has a

direct obligation to repay the Smith Law Firm’s loans.

       Beasley Allen’s own statements—completely unaddressed in the opposition

briefs—acknowledge that the interests of the plaintiffs are not being promoted or

protected. That alone warrants discovery.

III.   Beasley Allen’s Conduct During Bankruptcy Further Demonstrates Why
       Discovery Is Appropriate.

       Beasley Allen’s attempt to sanitize its conduct in the Red River bankruptcy

relies on a mischaracterization of the Bankruptcy Court’s findings and the


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bankruptcy plan’s treatment of the gynecological claimants. More importantly, it

readily presents a third and compelling reason for the discovery sought.

      Bankruptcy Court’s Findings. J&J’s motion papers raise significant concerns

related to the Beasley Allen firm’s actions in the most recent Red River Talc

bankruptcy, in particular certain false representations made by the firm in connection

with voting and their general treatment of certain types of clients. In response to

these allegations, Beasley Allen asserts that the bankruptcy court found that Beasley

Allen “did not” undertake these actions in “bad faith.” Opp at 9 (quoting Opp. Ex. 2

at 3).3 Once again, Beasley Allen is playing fast and loose with the facts. The J&J

Defendants welcome this Court to look at what the bankruptcy court actually said,

not the cherry-picked and out-of-context statements presented by Beasley Allen.

      For background, there were two ways for plaintiff firms to vote in the

bankruptcy. Option A, for clients who affirmatively indicated their vote, required

the attorney to certify that he or she had “collected and recorded the vote” of each

client and that each client “has indicated his or her informed consent.” Id. at 24.

Option B, by contrast, was a method for attorneys to use their best professional

judgment and, consistent with their ethical obligations, vote on behalf of those




3
 Beasley Allen also refers in a footnote to Judge Hale’s opinion in his expert report,
but the bankruptcy court precluded Judge Hale’s testimony. See Beasley Allen Opp.
13 n.20 (ECF 36608).

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clients who did not personally communicate in order to indicate their vote. For the

Option B approach, the attorney needed to certify: “I have the authority under a

power of attorney to vote to accept or reject the Plan on behalf of such Client.” Id.

at 24. Beasley Allen voted all clients by Option A.

       While it is true that the bankruptcy court stated, “they did not do it in bad

faith,” an actual review of the larger record shows that it was not referring to Beasley

Allen’s conduct. Rather, it referred to the subset of plaintiff law firms that both used

Option B and voted in support of the plan. Beasley Allen did neither. In the very

next sentence, the bankruptcy court stated: “One firm was put in a bad spot due to

solicitation issues that were not its fault. Others improperly relied on general

language in engagement letters in hopes of getting this plan over the 75% threshold.”

Id. at 3. Neither justification applies to Beasley Allen. First, because Beasley Allen

voted “no” under Option A, it did not rely on any language in its engagement letters

nor hope to get the plan over the 75% threshold. 4 As for the reference to solicitation

issues, as described in more detail later in the opinion, that sentence actually referred

to the Watts firm, as the solicitation agent (Epiq) mistakenly did not send ballots to

the firm’s clients. Id. at 25.




4
 In fact, the opinion goes on to expressly discuss the conduct of the Andrews and
Polaski firms, who relied on language in their engagement letters (id. at 26–27), and
voted via Option B.

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      Moreover, when providing directive as to the issues he wanted discussed in

closings, Judge Lopez repeatedly said that he “didn’t see any bad faith” from the

plaintiffs’ attorneys “Watts, Onder, Andrews, [and] Pulaski” but specifically carved

out Beasley Allen from that group. Sur-Reply Ex. 1, Red River Tr. 3746:14-16. And

when Judge Lopez later stated in his written opinion that “the Court does not find

that the plaintiffs’ law firms acted in bad faith,” it was part of the section of the

opinion for “Analysis of Option B Voting” that, again, did not and could not include

Beasley Allen, who voted via Option A. Id.

      Most importantly, the bankruptcy court separately analyzed issues with

Beasley Allen’s Option A voting. Birchfield certified approximately 11,000 votes

under Option A, even though he only received approximately 3,000 affirmative

responses from his clients. Id. at 33. The certification was false. As the bankruptcy

court stated:

      Option A required a certification that “[e]ach such Client has indicated
      his or her informed consent with respect to such vote.” “Indicated” used
      here is a transitive verb, which means that a person receives the action
      of the verb. Indicated means to “point out” or “state or express briefly.”
      Thus, authority under Option A cannot be obtained by silence. All the
      votes without affirmative client consent were not valid under Option A
      and the Bankruptcy Code.

Id. at 34 (footnotes omitted)

      The bankruptcy court then went further to discuss Beasley Allen’s handling

of the gynecological cancer claims:


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      Birchfield also certified that over 5,000 voting clients had
      gynecological cancer on his Master Ballot Spreadsheet. And thousands
      of these clients were voted to reject the Initial Plan without any
      direction from those clients. At the same time, Birchfield believes
      gynecological cancer claims are non-compensable in the tort system
      based on a lack of scientific support. Birchfield voted on behalf of
      clients, without their consent, to reject payment under the Initial Plan
      even though he believes those clients will not and cannot be paid in the
      tort system.

Id.

      Gynecological Cancer Claimants. Finally, Beasley Allen offers a post-hoc

justification for voting against the bankruptcy resolution on behalf of gynecological

cancer claimants whom they admit cannot recover in the tort system; namely that

the bankruptcy plan required gynecological cancer claimants to give up claims if

they developed ovarian cancer in the future.

      As an initial matter, the firm ignores that, as discussed above, the bankruptcy

court specifically discussed how Birchfield: (1) certified he obtained these

claimants’ informed consent; (2) did not in fact obtain informed consent for

thousands of clients; (3) voted to reject compensation; and (4) believes they cannot

be paid in the tort system.

      Moreover, Beasley Allen omits that—as explained during the Red River

closing arguments—any ambiguity in the bankruptcy plan was to be clarified in a

way that “all the other parties and everybody agreed” made clear that a gynecological

cancer claimant did not need to forfeit their rights to proceeds from the trust should


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they develop ovarian cancer in the future. See Reply Ex. 2, Red River Tr. 4057:19-

4058:12; Reply Ex. 3, Red River Talc Closing Slide.

IV.   Beasley Allen’s Assertions of Privilege Cannot Shield Relevant Discovery
      into Third-Party Funding.
      Finally, Beasley Allen makes a last-ditch effort to shield discovery by

claiming that Request No. 6 seeks privileged and protected materials because it seeks

“[a]ll Documents, Communications, or Agreements” that concern the “authority to

settle or otherwise resolve” the talc litigation. ECF No. 32201 at 14.

      But any documents regarding the funders’ authority to settle are plainly not

privileged. Moreover, “[w]hether an attorney was given actual authority to settle a

case is a discoverable fact not subject to privilege since the giving of settlement

authority is not for the purpose of rendering legal advice and “is never intended to

be confidential.” Fernandez v. HR Parking Inc., 577 F. Supp. 3d 254, 258 n.2.

(S.D.N.Y. 2021). At the very least, the remedy for privilege concerns is a privilege

log identifying any withheld materials so that the Court and the J&J Defendants can

assess whether any claim of privilege is valid.

                                  CONCLUSION

      For these reasons, this Court should permit Defendants’ requested discovery

into litigation financing, and at a bare minimum, require all plaintiffs represented by

Beasley Allen to submit a statement of disclosure as required by Local Rule 7.1.1.




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Dated: June 16, 2025                   Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 16, 2025, I electronically filed the foregoing

document with the clerk of the Court using the CM/ECF system, which will send

notification of such filing to the CM/ECF participants registered to receive service

in this MDL.

                                              /s/ Jessica L. Brennan
                                             Jessica L. Brennan




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